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 1 RONALD O. KAYE (No. 145051)
   KAYE, McLANE & BEDNARSKI, LLP
 2 128 North Fair Oaks Avenue
   Pasadena, California 91103
 3 Telephone: (626) 844-7660
   Facsimile: (626) 844-7670
 4 rok_kmb@earthlink.net
 5 Attorneys for Defendant
   Hussein Saleh Saleh
 6
 7                           UNITED STATES DISTRICT COURT
 8                          CENTRAL DISTRICT OF CALIFORNIA
 9                                      WESTERN DIVISION
10
11    UNITED STATES OF AMERICA,                )   NO. CR 07-1267-ODW
                                               )
12                         Plaintiff,          )   DEFENDANT’S POSITION RE:
                                               )   SENTENCING
13                 v.                          )
                                               )   [FILED CONCURRENTLY
14    HUSSEIN SALEH SALEH                      )   WITH SUPPORTING EXHIBITS]
                                               )
15                         Defendant.          )   Date: April 1, 2009
                                               )   Time: 2:00 p.m.
16                                             )   Court: Hon. Otis D. Wright, II
                                               )
17
18
           The defendant, Hussein Saleh Saleh, by and through his attorney of record,
19
     Ronald O. Kaye, hereby submits the following position paper with respect to
20
     sentencing factors.
21
                                              Respectfully submitted,
22
                                              KAYE, McLANE & BEDNARSKI, LLP
23
24
25   DATED: March 12, 2009                  By         /S/
                                              RONALD O. KAYE
26                                            Attorney for Defendant
                                              Hussein Saleh Saleh
27
28
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 1                                               I.
 2                                     INTRODUCTION
 3         Hussein Saleh Saleh is set to be sentenced before this Court on April 1, 2009,
 4   at 200 p.m. In the presentence report (PSR), the probation office has calculated an
 5   adjusted guideline range of 30 to 37 months. The guideline range is based upon an
 6   adjusted offense level of 20, pursuant to guideline section 2B5.3 and its application
 7   of section 2B1.1, a downward adjustment of 3 levels for acceptance of responsibility,
 8   and placement in Criminal History Category III. The probation office has
 9   recommended a sentence at the low-end of the guideline range, or 30 months.
10         The defense objects to a guideline range of 24 to 30 months as calculated by
11   the probation office. As demonstrated below and highlighted in the exhibits and
12   letters filed separately with the Court, Mr. Saleh’s case falls outside the heartland of
13   counterfeit product cases.
14         Based on the evidence presented in the presentence report, the defense accepts
15   the loss amount of $230,453. Consequently, Mr. Saleh will receive an aggravated
16   felony under Immigration & Nationality Act 8 U.S.C. § 101(a)(43)(M) in that the
17   offense: “(I) involves fraud or deceit in which the loss to the victim or victims
18   exceeds $10,000." Thus, as a result of this conviction, Mr. Saleh will be deported
19   from this country.
20         As demonstrated in Exhibit A, Mr. Saleh’s political asylum application filed on
21   June 7, 2005, before his escape to the United States, Mr. Saleh has repeatedly been a
22   victim of persecution in Lebanon, and has a compelling political asylum case. As a
23   result of this conviction and the resulting aggravated felony, this asylum case will be
24   abandoned and he will be deported. But in addition, deportation from this country
25   means deportation for his entire family. As discussed in the letter of Hassna Hussein
26   Ubeid, Mr. Saleh’s wife, provided to the Court at Exhibit B, his wife is unable to
27   provide for the family, and therefore, the family will follow Mr. Saleh. Thus, this
28   family, with three children facing severe health problems (as described in Exhibits H,

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 1   I and J) – a two year old son that has birth defects which include possible
 2   hydrocephalus (fluid on the brain), gastro-intestinal and spinal problems; a 9 year old
 3   daughter who continues to suffer headaches, pain and trauma when shrapnel entered
 4   her head from a bomb which exploded in her vicinity in Lebanon in 2006; and a 12
 5   year old daughter with a chronic injury to her spine – are returning to a war-torn
 6   country where Mr. Saleh is a target for persecution and where health care will
 7   inevitably be substandard. Banishment from the United States where Mr. Saleh and
 8   his family have resided, and where his children have received the necessary medical
 9   care, is something Mr. Saleh must accept. Based on this inevitable impact of the
10   collateral consequences from this case, however, Mr. Saleh requests a substantial
11   departure from the guidelines in this case.
12         18 U.S.C. § 3553(a) requires a court to “impose a sentence sufficient, but not
13   greater than necessary, to comply with the purposes set forth in paragraph 2.”1
14   Ultimately, based on the arguments presented herein and the supporting
15   documentation, the defense requests that the Court sentence Mr. Saleh to time served,
16   with the condition that he be immediately placed in the custody of the Bureau of
17   Immigration and Customs Enforcement. Clearly, he will face custodial time in
18   immigration custody prior to deportation, and then he will be sent to a country which
19   he fled from based on a well founded fear of persecution.
20         This dramatic impact on Mr. Saleh and his family as a result of this conviction
21   is sufficient punishment for this man. As demonstrated throughout the letters filed
22   with the Court at Exhibit B, Mr. Saleh is a well respected family man, known
23   throughout his community for being a positive influence on society. The defense
24
           1
25               These purposes, as set out in § 3553(a)(2), are:
                 (a) retribution (to reflect seriousness of the offense, to promote
26                     respect for the law, and to provide “just punishment”);
                 (b) deterrence;
27               (c) incapacitation (“to protect the public from further crimes”); and
                 (d) rehabilitation (“to provide the defendant with needed educational
28                     or vocational training, medical care, or other correctional
                       treatment in the most effective manner”).

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 1   requests that the Court use the discretion granted by Congress under 18 U.S.C.
 2   §3553(a) and find compassion for Mr. Saleh. The letters and supporting
 3   documentation provided to the Court do not lie – the hardship this man will face in
 4   the future warrants leniency at sentencing.
 5
 6                                              II.
 7                                        ARGUMENT
 8         The Federal Sentencing Guidelines were held to be advisory in United States v.
 9   Booker, 543 U.S. 220 (2005). The Supreme Court held in Rita v. United States, 127
10   S.Ct. 2456 (2007), that sentencing judges are required to impose a sentence
11   sufficient, but not greater than necessary, to comply with the basic aims of sentencing
12   in § 3553(a). This is known as 3553(a)'s parsimony provision, and it serves “as the
13   guidepost for sentencing decisions post-Booker.” United States v. Ferguson, 456
14   F.3d 660, 667 (6th Cir. 2006). In Rita, the Supreme Court forbade district courts from
15   according a presumption of reasonableness to the Guidelines. Rita, 127 S.Ct. at 2465
16   (“The sentencing court does not enjoy the benefit of a legal presumption that the
17   Guidelines sentence should apply.”). The Supreme Court in Rita emphasized that a
18   district court may sentence below the guideline range if it determines that “the
19   Guidelines sentence should not apply, perhaps because (as the Guidelines themselves
20   foresee) the case at hand falls outside the ‘heartland’ to which the Commission
21   intends individual Guidelines to apply, perhaps because the Guideline sentence,
22   itself, fails properly to reflect 3553(a) considerations, or perhaps because the case
23   warrants a different sentence regardless.” Rita, 127 S.Ct. at 2465 (citations omitted).
24         After Booker, a district court should place “no limitation” on the information
25   concerning the background, character, and conduct of a person convicted of an
26   offense. 18 U.S.C. § 3661; Booker, 125 S.Ct at 760 (quoting § 3661). As Justice
27   Stevens recognized in his concurrence in Rita, “many individual characteristics ... are
28   not ordinarily considered under the Guidelines,” but are nevertheless “matters that §

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 1   3553(a) authorizes the sentencing judge to consider.” Rita, 127 S.Ct at 2473
 2   (Stevens, J., concurring). Therefore, even if the Guidelines prohibit or limit
 3   consideration of a particular fact as the basis for a downward departure, a
 4   post-Booker sentence reduction based on the same “prohibited” fact is authorized by
 5   § 3661, as long as such a reduction furthers one or more of the purposes of
 6   sentencing under § 3553(a). These principles are echoed in the Supreme Court's
 7   decisions in Kimbrough v. United States, 128 S.Ct. 558 (2007) and Gall v. United
 8   States, 128 S.Ct. 586 (2007).
 9         The primary sentencing mandate of Section 3553(a) states that courts must
10   impose the minimally sufficient sentence to achieve the statutory purposes of
11   punishment – justice, deterrence, incapacitation, and rehabilitation: “the court shall
12   impose a sentence sufficient, but not greater than necessary to comply with the
13   purposes set forth in [18 U.S.C. § 3553(a)(2)].” 18 U.S.C. § 3553(a).
14         This “parsimony provision” is not simply a factor to be considered in
15   determining a sentence; it represents a cap above which the Court is statutorily
16   prohibited from sentencing – even when a greater sentence is recommended by the
17   guidelines. See United States v. Denardi, 892 F.2d 269, 276-77 (3d Cir.
18   1989)(Becker, J., concurring in part, dissenting in part).
19         In this case, an analysis of the § 3553(a) factors reveals that a sentence of
20   probation, with Mr. Saleh surrendering to immigration custody to await deportation,
21   is sufficient but not greater than necessary to achieve the goals of sentencing.
22         18 U.S.C. § 3553(a)(1) requires that the Court to consider: (1) the nature and
23   the circumstances of the offense and the history and characteristics of the defendant.
24   18 U.S.C. § 3661 states that “[n]o limitation shall be placed on the information
25   concerning the background, character, and conduct of a person convicted of an
26   offense which a court of the United States may receive and consider for the purpose
27   of imposing an appropriate sentence.” 18 U.S.C. § 3661, quoted in Booker, 125 S. Ct.
28   at 760.

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 1         Consequently:
 2                 Sentencing will be harder now than it was a few months ago.
                   District courts cannot just add up figures and pick a number
 3                 within a narrow range. Rather, they must consider all of the
                   applicable factors, listen carefully to defense and government
 4                 counsel, and sentence the person before them as an individual.
                   Booker is not an invitation to do business as usual.
 5
     United States v. Ranum, 353 F. Supp. 2d 984, 987 (E.D. Wis. 2005).
 6
           In sentencing Mr. Saleh, the defense requests this Court to review his life
 7
     history, and the collateral consequences of his conviction, for purposes of 18 U.S.C. §
 8
     3553(a)(1).
 9
10
     B.    THE COLLATERAL CONSEQUENCES OF MR. SALEH’S
11
           CONVICTION – THE LIKELIHOOD THAT HE WILL ENCOUNTER
12
           VIOLENCE AFTER HIS DEPORTATION TO LEBANON
13
           There is no question that Mr. Saleh will be deported to Lebanon after this case.
14
     Deportation from the United States to a country where he has faced severe
15
     persecution and realistically may face similar persecution in the future – in and of
16
     itself – is an extreme punishment which this Court should consider for purposes of
17
     sentencing. See Lennon v. INS, 527 F.2d 187, 193 (2d Cir.1975) (“Deportation is not,
18
     of course, a penal sanction. But in severity it surpasses all but the most Draconian
19
     criminal penalties. We therefore cannot deem wholly irrelevant the long unbroken
20
     tradition of the criminal law that harsh sanctions should not be imposed where moral
21
     culpability is lacking.”); United States v. Gonzalez-Mendoza, 985 F.2d 1014 (9th Cir.
22
     1993)(“Deportation is a sanction as harsh or harsher than many sanctions provided
23
     by the criminal law.”).
24
           After Booker, extraordinary collateral consequences from a criminal conviction
25
     can be considered, See United States v. Samaras, 390 F.Supp.2d 805,809 (E.D. Wis.
26
     2005)(where defendant convicted of fraud, sentence below guideline warranted in
27
     part because “as a consequence of his conviction and sentence, defendant lost a good
28
     public sector job, another factor not considered by the guidelines”). Moreover, courts

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 1 have looked at the goals of sentencing, and have reasoned that several of the concerns
 2 relevant to punishment are ameliorated for a defendant who is being deported.
 3        In United States v. Biheiri, 356 F.Supp.2d 589 (E.D. Va. 2005), an Egyptian
 4 defendant was convicted of financing terrorism. In support of a sentence of 13
 5 months, the court held:
 6               Because Biheiri will be deported to Egypt immediately following
                 his release from confinement, the goals of protecting the public
 7               and providing rehabilitative opportunities are of little import in the
                 instant circumstances. And, while it may appear that a longer
 8               sentence is appropriate given Biheiri's involvement in terrorist
                 financing, the principle that a defendant should only be punished
 9               for the offenses of conviction as provided by law commands that
                 this involvement should not drive the sentence.
10 Id. at 603.
11        Attached hereto at Exhibit A is Mr. Saleh’s Political Asylum Application. The
12 application reveal both the persecution faced by Mr. Saleh while living in Lebanon
13 and before he fled that country. Exhibits C, D, E and F confirm the conditions
14 suffered by Mr. Saleh in Lebanon, including documents from the United States State
15 Department.
16        Paragraphs 70 through 77 of the PSR describe the persecution suffered by Mr.
17 Saleh. This includes:
18 •      In 1990, Mr. Saleh was forcibly conscripted into the South Lebanon Army
19        (SLA), where he served for five years. Mr. Saleh was responsible for
20        monitoring suicide attacks by Hezbollah and enemies of SLA. Mr. Saleh quit
21        the SLA when he was required to kill opposition members, their families and
22        other civilians. When later pressured to rejoin SLA, Mr. Saleh’s refusal
23        brought on the label of “deserter.” Consequently, Mr. Saleh went into hiding.
24 •      As a result of his “deserter” status, Mr. Hussein’s brothers – Hassan and Jamal
25        – were arrested by the SLA. In addition, the SLA threatened to destroy the
26        family’s home if they did not disclose his location.
27 •      In November of 1996, Mr. Saleh was arrested by the SLA and detained for
28        approximately one month in a small cell. He was fed intermittently, placed in

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 1        isolation with no visitors, and was permitted to bathe only one time while in
 2        captivity. Mr. Saleh was interrogated, accused of being a member of
 3        Hezbollah, held at gunpoint, and threatened to that both he and his parents
 4        would be killed. When he rejected the accusations, SLA members beat him
 5        repeatedly with the back of a rifle.
 6 •      In December of 1996, Mr. Saleh’s parents were able to able to bribe SLA
 7        leaders for the release of Mr. Saleh. Mr. Saleh was then hospitalized based on
 8        the substantial loss of weight and injuries suffered during interrogation.
 9 •      In May of 1997, Mr. Saleh’s parents traveled to Beirut, Lebanon. While there,
10        Hezbollah militia continuously harassed and questioned them, inquiring about
11        Mr. Saleh’s whereabouts.
12 •      In June of 1997, Mr. Saleh was arrested by SLA agents. At a remote location,
13        the agents insisted that Mr. Saleh rejoin the militia, which he refused. In
14        response, the SLA members shot bullets between his feet, and also wounded
15        his left arm. The SLA members also pushed him to the ground, and beat him
16        repeatedly with their rifles. As a result of this beating, Mr. Saleh suffered
17        injuries on his body and face, his vision was blurred, and he suffered weight
18        loss.
19 •      In November and December of 1997, the SLA advised Mr. Saleh’s father that
20        Mr. Saleh either rejoin the militia or face death. Consequently, Mr. Saleh fled.
21        During the period Mr. Saleh was a refugee, Mr. Saleh’s parents were repeatedly
22        questioned about his whereabouts.
23 •      With the SLA pressure against Mr. Saleh and his family always present, Mr.
24        Saleh was smuggled to Beirut, and prepared to leave the country. Mr. Saleh
25        was in hiding, avoiding both SLA and Hezbollah members. Ultimately, Mr.
26        Saleh fled to Mexico and then to the United States.
27        Attached hereto at Exhibit D, is a printout from the British Broadcasting
28 System: Israel Accused of War Crimes by Orest Slepokura, November 3, 2000. The

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 1 article confirms the persecution faced by Mr. Saleh while in the custody of SLA:
 2               Khiam prison was a detention and interrogation centre during the
                 Israeli occupation in Southern Lebanon. To help secure its hold
 3               on Southern Lebanon, Israel armed a local Lebanese militia, the
                 South Lebanon Army or SLA. The SLA provided Khiam’s guards
 4               and interrogators.
 5         The article goes on to describe how detainees were tortured and held in solitary
 6 confinement by the SLA, similar to Mr. Saleh’s description of the events which
 7 transpired in Lebanon before he sought political asylum in the United States.
 8         Similarly, Exhibit E, Jewish group accuses Israel of war crimes by Joseph
 9 Abboud, January 31, 2000, describes the conduct of the South Lebanon Army in
10 Khaim detention centre as “shameful and inhumane,” with severe examples of
11 residents being arrested and tortured at the prison.
12         The retaliation against suspected SLA army members is also supported by
13 documentation. In Exhibit F, JTA: SLA Militiamen “dazed, disoriented,” by Orest
14 Slepokura, May 24, 2000, the reporter describes the pervasive fear that members of
15 the SLA feel; the perception of SLA members as traitors in Lebanon; and how these
16 SLA fighters have been abandoned by Israel. Thus, as a prior SLA fighter, Mr. Saleh
17 remains highly vulnerable to persecution by Hezbollah when he returns to Lebanon.
18         The overall human rights situation presently in Lebanon is described in the
19 United States State Department Country Reports on Human Rights Practices - 2008,
20 attached hereto at Exhibit C, at page 1.
21               On May 7, opposition fighters led by Hizballah, a Shia opposition
                 party and terrorist organization, seized control of Beirut
22               International Airport and several West Beirut neighborhoods to
                 protest government decisions to declare Hizballah's
23               telecommunication network illegal and remove the airport security
                 chief because of the presence of Hizballah's surveillance cameras
24               monitoring the airport. During the heavy fighting, 84 persons were
                 killed and approximately 200 were injured. On May 21 in Doha,
25               Qatar, rival leaders reached an agreement to end the violence and
                 the 18-month political feud. Sectarian clashes continued to break
26               out between the Druze and Hizballah across the country and
                 between Sunnis and Alawites in the northern part of the country,
27               leading to the deaths of approximately 70 persons and the
                 wounding of 275. UN Security Council (UNSC) resolutions 1559
28               and 1701 call upon the government to take effective control of all
                 Lebanese territory and disarm militia groups. However, despite the

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  1                  presence of the Lebanese and UN security forces, Hizballah
                     retained significant influence over parts of the country, and the
  2                  government made no tangible progress towards disbanding and
                     disarming armed militia groups, including Hizballah.
  3
                     There were limitations on the right of citizens to change their
  4                  government peacefully. Militant and sectarian groups committed
                     unlawful killings, and security forces arbitrarily arrested and
  5                  detained individuals. Torture of detainees remained a problem, as
                     did poor prison conditions, lengthy pretrial detention, and long
  6                  delays in the court system. The government violated citizens'
                     privacy rights, and there were some restrictions on freedoms of
  7                  speech and press, including intimidation of journalists. The
                     government suffered from corruption and a lack of transparency.
  8                  There were limitations on freedom of movement for unregistered
                     refugees, and widespread, systematic discrimination against
  9                  Palestinian refugees and minority groups continued. Domestic
                     violence and societal discrimination against women continued, as
10                   did violence against children and child labor.
11
            Thus, Mr. Saleh and his family face great dangers when they return to Lebanon.
12
      He is a suspected enemy of Hezbollah, and he was a victim of persecution from the
13
      SLA. Without question, he and his family’s life will suffer greatly after his
14
      deportation.
15
            By analogy, the departure of extreme vulnerability in prison provides the Court
16
      with a similar rationale for reducing Mr. Saleh’s sentence based on the inevitable
17
      persecution he will face in El Salvador. In United States v. Lara, 905 F.2d 599, 601
18
      (2d Cir. 1990) the defendant was convicted of conspiracy and intent to distribute
19
      seven kilograms of 97% pure cocaine. The district court departed down from a
20
      sentencing range of 121 to 151 months to 60 months because of the defendant's
21
      extreme vulnerability in prison, and the Second Circuit affirmed. Id. at 601-02.
22
23          The defendant in Lara was described by his attorney as "`a delicate looking

24 young man... [with] a certain sweetness about him,' who had been victimized as a
25 consequence of his diminutive size, immature appearance and bisexual orientation."
26 Id. at 601. The defendant was a boyish-looking twenty two years old. Id. An
27 incident was described in which "two tough males... inmates were attempting to
28 coerce defendant by threats into becoming a male prostitute... for their economic gain

                                                   7
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  1 and... enjoyment." Id. at 601. The defendant was placed in solitary confinement --
  2 "the hole," for his own safety. Id. at 601.
  3        The hardship Mr. Saleh will ultimately face in Lebanon – he already has
  4 suffered from torture and persecution and had to flee to the United States before
  5 seeking political asylum here – should be considered by the Court as an additional
  6 mitigating factor warranting a reduced sentence.
  7
  8
      C.   THE COST TO THE UNITED STATES GOVERNMENT OF
  9
           INCARCERATING MR. SALEH, RATHER THAN PLACING HIM
10
           DIRECTLY IN IMMIGRATION CUSTODY, WEIGHTS IN FAVOR OF
11
           THE COURT SENTENCING HIM TO TIME SERVED AND
12
           IMMEDIATE SURRENDER INTO IMMIGRATION CUSTODY
13
14         Exhibit G, attached hereto, a May 6, 2008 Memorandum from the
15 Administrative Office of the United States Courts, reveals that in 2007 it would have
16 cost $24,922.00 per year to incarcerate Mr. Saleh. Based on his immigrant status, he
17 will not be eligible for a community corrections center the final six months of his
18 custodial sentence, and after he is released from custody, he will remain in
19 immigration custody for an extended period of time. Therefore, if the Court should
20 follow the recommendation of the Probation Office and sentence Mr. Saleh to 30
21 months in custody, the 2007 cost to incarcerate Mr. Saleh will be more than
22 $62,205.00.
23         Mr. Saleh’s proposal to surrender himself to immigration custody not only is
24 the right result based on the hardship he will encounter in Lebanon, it is the most
25 fiscally responsible result. Once Mr. Saleh turns himself in to immigration custody,
26 there is no threat of any future criminal conduct and the United States will be saved
27 substantial funds necessary for other inmates and other programs.
28 \\

                                                  8
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  1 C.     A DOWNWARD DEPARTURE IS WARRANTED IN MR. SALEH’S
  2        CASE BASED ON EXTRAORDINARY FAMILY RESPONSIBILITY.
  3        Section 5H1.6 of the Guidelines states that family ties and responsibilities are
  4 not ordinarily relevant for determining whether a sentence should be outside the
  5 guideline range. However, "factors not ordinarily relevant... may be relevant to this
  6 determination in exceptional cases." U.S.S.G. §5H, Intro. Commentary. See United
  7 States v. Thomas, 930 F.2d 526, 530 (7th Cir. 1991)(“had the Commission wanted to
  8 do that [ban departures based on family ties], it knew how. . .” showing how the
  9 commission made race, sex, national origin, creed, religion and socioeconomic
10 factors not relevant for departure purposes in U.S.S.G., § 5H1.10).
11
          Now, based on the Supreme Court’s decision in Booker, the guidelines are only
12
   advisory and family circumstances need to be considered based on the history and
13
   characteristics of the defendant under 18 U.S.C. § 3553(a). Nevertheless, the
14
   Commentary to § 5H1.6 gives the Court guidance on how to determine whether the
15
   family responsibility of the defendant truly is extraordinary:
16
          (I)    The defendant’s service of a sentence within the applicable guideline
17               range will cause a substantial, direct, and specific loss of essential
                 caretaking, or essential financial support, to defendant’s family.
18
19         (ii)    the loss of caretaking or financial support substantially exceeds the harm
                   ordinarily incident to incarceration for a similarly situated defendant.
20                 For example, the fact that the defendant’s family might incur some
                   degree of financial hardship or suffer to some extent from the absence of
21                 a parent through incarceration is not in itself sufficient as a basis for
                   departure because such hardship or suffering is of a sort ordinarily
22                 incident to incarceration.
23
           (iii)   The loss of caretaking or financial support is one for which no effective
24                 remedial or ameliorative programs reasonably are available, making the
                   defendant’s caretaking or financial support irreplaceable to the
25                 defendant’s family.
26
      U.S.S.G. commentary to §5H1.6(1)(B).
27
           Mr. Saleh fulfills the criteria set out in the commentary for § 5H1.6. As
28

                                                 9
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  1 described in the letter of his wife, attached at Exhibit B:
  2               I am alone, all my family are in Lebanon and he always stands by
                  me and helps me in everything. I do not speak the English
  3               Language well and I am unable to drive far distances , and I have
                  my youngest son whose name is Muhamad who has health
  4               problems and needs to be seen by the doctor, and my husband
                  goes with me and is forced to close his store because there is no
  5               one to help him or to attend to the store for him, and I cannot go
                  by myself to the doctor because he is very far and I do not drive
  6               far distances. Also I have my eldest daughter who is called Hawra
                  12 years, she has a lot of pain in her back since a year and a half.
  7               She likes to help me and I do not let her because I am so afraid for
                  her and she is being treated by a doctor who specializes in bones
  8               and joints, and he wants to constantly see her and observe her
                  condition and I cannot go to this doctor by myself because he is
  9               very far and that is why I go with my husband because he is also
                  afraid for her and you know that all the specialists are located far
10                from the area that we live in . Muhamad’s doctor Is in Irvine (
                  illegible Memorial Hospital ) and Hawra’s doctor is in Long
11                Beach.
12                Also I have a daughter whose name is Zeinab 9years, went to
                  Lebanon in the year 2006, when the war broke out my innocent
13                daughter was hit in her head ,chest and hand and these shrapnel’s
                  are still in her body and she is being treated up till now from this
14                ordeal. And these pains that she has since 2006 , my husband and
                  I take her to a specialist and he tells us that her condition is serious
15                and wants to see her constantly and to observe her , and every now
                  and then it comes back to her head and chest and hand and we are
16                very worried about her.

17          The problematic health condition of Mr. Saleh’s three children, and his integral
18 role in supporting his family, also highlights the extraordinary vulnerability which
19 warrants mitigation in this case:
20
            The letter of Paul E. Wakim, M.D., attached at Exhibit H, reveals the condition
21
      of Mr. Saleh’s 9 year old daughter, Zeina:
22
                  DISCUSSION AND CAUSATION
23                Ms. Zaina Saleh, a 9-year-old child, was the recipient of shrapnel
24                wounds into her skull as well as into her lung on and about July
                  27, 2006, during the war in Lebanon. Subsequent to the above,
25                patient hid under the stairs as the bombs were falling on her house
                  and in the neighborhood. The patient started bleeding afterwards
26                and remained confined to the house for 48 hours due to the
                  ongoing bombing. They escaped to the mountains of Lebanon
27                where she sought help by physicians in that area who diagnosed
                  her with shrapnel wounds to her chest and head
28                Pursuant to the above, the patient has been suffering from ongoing
                  headaches mostly on the right side of her head. Her family doctor

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  1                recommended that she continue to undergo care and treatment by a
                   specialist
  2                Due to the above injuries sustained, the patient has had ongoing
                   headaches and difficulty associated with the same which appears
  3                to be unrelenting to the patient. She appeared to be withdrawn and
                   scared during the examination.
  4                It is the opinion of this qualified medical examiner that this patient
  5                should undergo periodic examinations and evaluations pertaining
                   to her head shrapnel injury as well as her lung shrapnel injury.
  6                This should be no less than every six months or more should the
                   need arise.
  7
            The medical records attached at Exhibit I, reveal the conditions of Mouhamad,
  8
      the youngest child: possible hydrocephalus (water on the brain); cutis aplasia in the
  9
      midline lubosacral region (absence of skin); and a low imperforate anus and perineal
10
      fistula (malformed rectum often requiring a protective colostomy).
11
            Finally, the medical record attached hereto at Exhibit J confirms the condition
12
      of Hawra Saleh, Mr. Saleh’s 12 year old daughter:
13
14                 PEDIATRIC ORTHOPEDIC SPECIALIST CENTER NOTE
                   The patient is present with her Mom and Dad and other siblings.
15                 She has seen me for back pain for about a year and a half. It is
                   below the scapulas on both sides and she has had it for about a
16                 year and a half.
17                 She is 12 years old, born January 25, 1997. She was born fullth
                   term. Development has been up to date. She is currently in 6
18                 grade. She has pain in her back and under the shoulders for a year
                   and a half.
19                 OBJECTIVE: I had her forward bend. We did take four views of
                   her back.
20                 PLAN: I am still worried about spondylolysis [defect in the
21                 vertebrae] and because of that, we are sending her throughout the
                   hospital for a spec scan to rule out spondylolysis and will see her
22                 back after the spec scan.

23                 By: FARHAD JOHN HAJALILOO, M.D.
24
            The condition of Mr. Saleh’s children, and his commitment to them, are
25
26 corroborated in the letter of Yousef Chahine, attached to Exhibit B and filed with the
27    Court:
28                 I also know [Mr. Saleh] as a father of four kids, 2 boys and 2 girls.

                                                 11
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  1                His oldest daughter, Hawra’a, is eleven I think, and the youngest
                   son is almost three. Hawra’a injured her back while she was
  2                lifting the 5 gallon water bottle during the time when her dad was
                   arrested for few months last year. I remember referring her mom
  3                to a chiropractor. His other daughter (6) suffered a head injury
                   during the war in Lebanon in July of 2006, and ever since she
  4                became extremely attached to her dad. In addition, his youngest
                   son has certain health issues since his birth, and Mr. Saleh has to
  5                take him frequently to the Children’s Hospital.
                   In sum, Mr. Saleh is the typical hard-working family man trying to
  6                make ends meet, and raising four kids, of whom, three have
                   specific health conditions that require special attention,
  7                particularly, the caring of a close-by dad.
  8
            Several appellate cases have affirmed downward departures for extraordinary
  9
      family circumstances involving care for dependent family members. See United
10
      States v. Johnson, 964 F.2d 124, 128-30 (2nd Cir. 1992)(The defendant had sole
11
      responsibility for raising four children); United States v. Alba, 933 F.2d 1117, 1122
12
      (2nd Cir. 1991)(The defendant was in a 12-year marriage with two children, living
13
      with a disabled, dependent father and grandmother); United States v. Pena, 930 F.2nd
14
      1486, 1494-95(10th Cir. 1991)(The defendant was the single parent of an infant, and
15
      the sole supporter of a 16-year-old daughter and the daughter’s infant); United States
16
      v. Rivera, 994 F.2d 942 (1st Cir. 1993)(mother of three children); United States v.
17
      Sclamo, 997 F.2d 970 (1st Cir. 1993)(dependence on stepfather of stepson who was
18
      abused by father).
19
            The Court in Johnson described how extraordinary family responsibilities was
20
      a departure based on the condition of the dependents of the defendant, not based on
21
      the defendant herself:
22
23                 The rationale for a downward departure here is not that Johnson's
                   family circumstances decrease her culpability, but that we are
24                 reluctant to wreak extraordinary destruction on dependents who
                   rely solely on the defendant for their upbringing. Judge Patterson
25                 [the district court judge] made it clear that the departure was not
                   on behalf of the defendant herself, but on behalf of her family:
26                 “In view of the special circumstances of the defendant - I shouldn't
                   say defendant, I should say of the ‘defendant's family,’ which, as
27                 the court sees it, is a family in which the mother is the sole link
                   between the children . . .
28

                                                12
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  1                “I [ ] feel that those children being without a mother for an
                   extended period of time was a hardship on them, not on her,
  2                hardship on them, and that was extraordinary grounds for a
                   departure.”
  3
  4 Johnson at 128-30.
  5         Similarly, the defense is not requesting a departure based on the potential
  6 suffering of Mr. Saleh; it is based on the needs of his children and his wife that are at
  7 issue. As demonstrated by the letter of Mr. Saleh’s wife, culturally, she is unable to
  8 provide for her family here in Los Angeles. She does not speak English (or Spanish
  9 for that matter), she cannot drive any distance, she has no family in the United States,
10 and she does not earn a living - nor can she with her child care responsibilities. It is
11 Mr. Saleh who exclusively provides financial assistance for his sick children. If Mr.
12 Saleh is incarcerated, his absence from the role as the sole provider for these children
13 will have a devastating physical and emotional impact on them.
14
            If Mr. Saleh receives a sentence of time served with a condition of mandatory
15
      surrender to immigration custody, he will be deported from this country and his
16
      family will follow. As a result all his family will clearly encounter significant
17
      hardships in Lebanon, but at least Mr. Saleh will be able to take care of his very
18
      fragile family
19
            The alternative – a lengthy period of incarceration prior to deportation – will
20
      result in the certain disruption of the family and their inability to function.
21
      Consequently, the extraordinary nature of the family circumstances in this case merits
22
      a time served sentence.
23
24
25                                                III.
26                                        CONCLUSION
27
            Based on the arguments presented herein, the defense respectfully requests a
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      sentence of time served in this case, with a requirement that Mr. Saleh surrender to

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  1 the custody of the Bureau of Immigration Customs Enforcement. The expulsion of
  2 Mr. Saleh from this country, his return to a war-torn country where he will likely be
  3 targeted by some militant group, and the fact that his children, three of whom suffer
  4 from medical problems, will be forced to live in a country with significantly lesser
  5 medical care, is adequate punishment for this offense.
  6         The letters filed separately with the Court at Exhibit B, demonstrate that Mr.
  7 Saleh is a committed family man, a good neighbor, and well thought of in his
  8 community. Clearly, he made some substantial mistakes in selling counterfeit goods
  9 in order to support his family, and he has pled guilty to this offense. But his life is
10 more than his criminal conduct and he deserves leniency.
11          The defense is fully aware that the Court sentences individuals for similar
12 violations, and that consistency in sentencing is a critical concern for the Court. The
13 Court does have the power, however, now after the Booker decision, to dramatically
14 distinguish a particular defendant from other similarly situated defendants. Mr.
15 Saleh’s history of persecution in Lebanon, his inevitable deportation to that country,
16 his integral role in the support of his family, and the chronic health problems of his
17 children reveal why he should be distinguished from other similarly situated
18 defendants.
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  1        To sentence Mr. Saleh to an excessive time in prison will not serve society in

  2 any way, and will only create a greater obstacle for this family – they will be the
  3 primary individuals who will suffer. A sentence of time served with immediate
  4 surrender to immigration custody is a fair result in this case
  5
  6                                    In the interest of justice,
  7
                                       Respectfully submitted,
  8
  9                                    KAYE, McLANE & BEDNARSKI, LLP
10
11
12 DATED: March12, 2009                By              /S/
                                              RONALD O. KAYE
13
                                              Attorneys for Defendant
14                                            Hussein Saleh Saleh
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